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 6

 7                              UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA
 9
                                           )             Case No.: 1:15 CR 46 LJO
10   THE UNITED STATES OF AMERICA,         )
                                           )             STIPULATION OF THE PARTIES RE
11               Plaintiff,                )             MODIFICATION OF TRAVEL
                                           )             RESTRICTIONS ON DEFENDANT
12         V.                              )             MONA CHAVARIN
                                           )
13                                         )
     MONA CHAVARIN,                        )
14                                         )
                 Defendant.                )
15                                         )
     _____________________________________ )
16
            The United States of America, by and through its Counsel of Record Kathleen A.
17
     Servatius, Assistant United States Attorney, and E. Marshall Hodgkins, Attorney of Record for
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     Defendant Mona Chavarin stipulate as follows:
19              1. Defendant Mona Chavarin’s father died on April 23, 2015. She wishes to travel to
20                 Michoacan, Mexico for her father’s funeral, and assist in the transportation of his

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                   body to Michoacan, Mexico from Tuesday, April 28, 2015 through Saturday, May
                   2, 2015.
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                2. The undersigned parties have no objection and agree that any restrictions on
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                   Defendant’s Mona Chavarin’s travel that were previously made by court order are
24                 modified to allow her to travel to Michoacan, Mexico between the dates April 28,

25                 2015 to May 2, 2015.



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            IT IS SO STIPULATED.
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 2

 3   Date: 4/24/15                                  /s/ Kathleen A. Servatius
                                                    KATHLEEN A. SERVATIUS,
 4                                                  Assistant United States Attorney
 5

 6

 7
     Date: 4/24/15                                  /s/ E. Marshall Hodgkins
 8                                                  E. MARSHALL HODGKINS,
                                                    Attorney of Record for
 9                                                  Defendant Mona Chavarin

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14                                     ORDER

15   IT IS SO ORDERED.

16      Dated:       April 27, 2015             /s/ Gary S. Austin
                                           UNITED STATES MAGISTRATE JUDGE
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